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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND                                    Q.ERK,
                                                                                                        AT GREENBELT
                                                                                                         U,S. DISTRICT COURT
                                                                                                                               \L
                                                                                                 OISTRICTOF MARYlAND
                                                                                                                               DEPlm'


UNITED STATES OF AMERICA                              *
                                                      *
v.                                                    *
                                                      *         CriIn. No.:      PJM 09-0468
ANTHONY MAURICE THOMAS                                *
                                                      *
         Defendant                                    *


                                       MEMORANDUM               OPINION

         Defendant Anthony Maurice Thomas, pro se, moves under 18 U.S.C. S 3582(c)(2) to

reduce his criminal sentence pursuant to the rair Sentencing Act [Paper No. 414].1 After

reviewing the Motion, and the information provided by the United States Probation Office, as

adopted by the Government, for the reasons that follow, the Court will DENY the Motion.

                                                          I.

         On January 20, 20 I0, Thomas pled guilty to a single count of Conspiracy to Distribute

and Possess with Intent to Distribute 5 Kilograms or More of Cocaine and 50 or More Grams of

a Mixture of Substance Containing a Detectable Amount of Cocaine Base ("Count One"), 21

U.S.c.   S 846. At sentencing, his base offense level under the Sentencing Guidelines was found
to be 26 because he specifically agreed in his plea agreement that at least 500 grams of cocaine

were reasonably foreseeable to him. See U.S. Sentencing Guidelines Manual Ss 2DI.I(c)(3)

(2009) (assigning a base offense level 01'26 to federal drug crimes involving at least 500 grams

bul less than 2 kilograms of cocaine). The Court then applied certain adjustments to Thomas'

score and arrived at an adjusted offense level 01'23. The plea agreement noted that the



I Although Thomas's     Motion is styled as a "Motion ... Concerning the Retroactivity Under the 'Fair Sentencing
;\ct"', the Court will assume he seeks reliefundcr 18 U.S,C, S 3582(c)(2).




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mandatory minimum for the crime was 5 years imprisonment.          According to the U.S. Sentencing

Guidelines Manual, the range of imprisonment for the crime was 60 - 63 months. The Court

sentenced Thomas to 60 months incarceration.

       The U.S. Probation Office has reviewed Thomas' present Motion and has concluded that

he is not eligible for a reduction of his sentence because his offense did not involve crack

cocaine. Probation's report notes that "[although charged with an offense involving crack

cocaine, the defendant was in actuality held accountable for at least 500 grams but not more than

2 kilograms of cocaine hydrochloride."

                                                 II.

       On November 1,2007, the Sentencing Commission promulgated Amendment 706 to the

Sentencing Guidelines. That Amendment, addressing crack cocaine-related drug offenses,

reduced by two levels the base offense level assigned to each threshold quantity of crack listed in

the Guidelines' Drug Quantity Table. Thereafter, the Commission made Amendment 706

retroactive, effective March 3, 2008. See Uniled Slales v. Mllnn, 595 FJd 183, 185-86 (4th Cir.

2010). Amendments 748 (ciT. Nov. 1.2010),750           (efe Nov. 1,2011), and 759 (eff. Nov. 1,

20 I I) to the Sentcncing Guidelincs were adopted in connection with the enactment of the Fair

Scntcncing Act 01'2010 ("FSA") Pub.L. No. 111-220, 124 Stat. 2372 (August 3, 2010).

Subscqucnt to that, Amendmcnt 750 amended the drug quantity table in Section 2D 1.1(c) to

reduce offense levels in crack cocaine cascs. See U.S.S.G. App. C, Amend. 750. It was made

retroactive by Amendment 759. See id., Amend. 759.

       Thomas was sentenced on August 9, 2010,just a few days after the effective date of the

Fair Sentencing Act 01'2010. Pub.L. No. 111-220, 124 Stat. 2372 (August 3, 2010). See also

Dorsey v. United Slales, 132 S. Ct. 2321, 2326 (2012) ("The new statute took effcct on August 3,




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2010."). This fact, however, is of no consequence in connection with Thomas' Motion. While

the Supreme Court was clear in Dorsey v. Uniled Slales that "Congress intended the Fair

Sentencing Act's more lenient penalties to apply to those offenders whose crimes preceded

August 3, 2010, but who are sentenced aftcr that date," 132 S. Ct. at 2331, the FSA statutorily

changed the threshold quantities of crack cocaine that trigger mandatory minimum sentences

under 21 U.S.c. ~ 841 (b), but did not modify the threshold quantities of powder cocaine, or

cocaine hydrochloride, that trigger mandatory minimum sentences.

       Pursuant to 18 U.S.C. ~ 3582(c), "a defendant who has been senteneed to a term of

imprisonment based on a senteneing range that has subsequently been lowered by the Senteneing

Commission" may file a motion asking the Court to reduce his sentence. 18 U.S.C. ~ 3582(c)(2).

Upon consideration of such a motion, the Court may reduce the defendant's term of

imprisonment "after considering the factors set forth in [18 U.S.C. ~ 3553(a)] to the extent that

they are applicable, if such a reduction is consistent with applicable policy statements issued by

the Sentencing Commission."     18 U.S.C. ~ 3582(c)(2).

       "The policy statement pertinent to a motion under [S]ection 3582(e) is [S]ection 1B 1.10

of the Sentencing Guidelines Manual." Uniled Slales v. Slewarl, 595 FJd 197,200 (4th

Cir.20 I0). The amendments to the Drug Quantity Table established by Amendment 750 arc

among the "covered" amendments set forth in U.S.S.G. ~ I B 1.1O(c). "Pursuant to

S IB.I 0(a)(2)(B), however, '[aj reduction in the defendant's term of imprisonment is not
consistent with this policy statement and therefore is not authorized under 18 U.S.C. ~

3582(c)(2) if .. [a]n amendmenllisted   in subsection (c) docs not have the effect of lowering the

defendant's applicable guideline range.'"   Wade v. Uniled Slales, No. DKC 12-2442,2013 WL

3168721 at *5 (D. Md. June 19,2013).




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                                                     III.

               Thomas asks thc Court to rcducc his scntcncc pursuant to thc Fair Scntcncing Act. But

     again, as Probation notes in its review of his Motion, his ofTense did not involve crack cocaine, it

     was only for powder cocainc. Thc FSA did not lower thc mandatory minimum scntcnce

     applicable to his ofTense, and Amendments 706 and 750 thus have no application. The amount

     of cocainc encompasscd by Thomas' pica agrcemcnt -        500g cocaine -   triggers the 5 ycar

     mandatory minimum, and that is the sentence he got. Accordingly, the Court will dcny Thomas'

     Motion.

                                                     IV.

               For the foregoing reasons, Thomas's Motion Concerning the Retroactivity Under the

     ""Fair Sentencing Act" [Paper No. 434] is DENIED.

               A separate Order will ISSUE.




               October 1,2013




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